      Case 15-33866-ABA                     Doc 95            Filed 10/08/21 Entered 10/08/21 09:20:25                Desc Ch 13
                                                              Discharge Page 1 of 2

Information to identify the case:
Debtor 1
                       Andrew J. Rittenhouse                                        Social Security number or ITIN   xxx−xx−6723
                                                                                    EIN _ _−_ _ _ _ _ _ _
                       First Name   Middle Name   Last Name

Debtor 2               Anita Rittenhouse                                            Social Security number or ITIN   xxx−xx−9524
(Spouse, if filing)
                                                                                    EIN _ _−_ _ _ _ _ _ _
                       First Name   Middle Name   Last Name

United States Bankruptcy Court       District of New Jersey

Case number:          15−33866−ABA

Order of Discharge                                                                                                                 12/18


IT IS ORDERED: A discharge under 11 U.S.C. § 1328(a) is granted to:

               Andrew J. Rittenhouse                                         Anita Rittenhouse

                                                                             By the court: Andrew B. Altenburg Jr.
               10/8/21                                                                     United States Bankruptcy Judge


Explanation of Bankruptcy Discharge in a Chapter 13 Case

This order does not close or dismiss the case.                               Most debts are discharged
                                                                             Most debts are covered by the discharge, but
Creditors cannot collect discharged debts                                    not all. Generally, a discharge removes the
                                                                             debtors' personal liability for debts provided for
This order means that no one may make any                                    by the chapter 13 plan.
attempt to collect a discharged debt from the
debtors personally. For example, creditors cannot                            In a case involving community property: Special
sue, garnish wages, assert a deficiency, or                                  rules protect certain community property owned
otherwise try to collect from the debtors personally                         by the debtor's spouse, even if that spouse did
on discharged debts. Creditors cannot contact the                            not file a bankruptcy case.
debtors by mail, phone, or otherwise in any
attempt to collect the debt personally. Creditors
who violate this order can be required to pay                                Some debts are not discharged
debtors damages and attorney's fees.                                         Examples of debts that are not discharged are:
However, a creditor with a lien may enforce a
claim against the debtors' property subject to that                               ♦ debts that are domestic support
lien unless the lien was avoided or eliminated. For                                 obligations;
example, a creditor may have the right to foreclose
a home mortgage or repossess an automobile.
                                                                                  ♦ debts for most student loans;
This order does not prevent debtors from paying
any debt voluntarily. 11 U.S.C. § 524(f).
                                                                                  ♦ debts for certain types of taxes specified
                                                                                    in 11 U.S.C. §§ 507(a)(8)( C),
                                                                                    523(a)(1)(B), or 523(a)(1)(C) to the
                                                                                    extent not paid in full under the plan;




                                                                                         For more information, see page 2>


Form 3180W                                                      Chapter 13 Discharge                                  page 1
   Case 15-33866-ABA       Doc 95     Filed 10/08/21 Entered 10/08/21 09:20:25        Desc Ch 13
                                      Discharge Page 2 of 2




    ♦ debts that the bankruptcy court has                  ♦ debts for restitution, or damages,
      decided or will decide are not discharged              awarded in a civil action against the
      in this bankruptcy case;                               debtor as a result of malicious or willful
                                                             injury by the debtor that caused
                                                             personal injury to an individual or the
    ♦ debts for restitution, or a criminal fine,             death of an individual; and
      included in a sentence on debtor's criminal
      conviction;
                                                           ♦ debts for death or personal injury
                                                             caused by operating a vehicle while
    ♦ some debts which the debtors did not                   intoxicated.
      properly list;

                                                      In addition, this discharge does not stop
    ♦ debts provided for under 11 U.S.C. §            creditors from collecting from anyone else who
      1322(b)(5) and on which the last payment        is also liable on the debt, such as an insurance
      or other transfer is due after the date on      company or a person who cosigned or
      which the final payment under the plan          guaranteed a loan.
      was due;


    ♦ debts for certain consumer purchases             This information is only a general
      made after the bankruptcy case was filed if      summary of a chapter 13 discharge; some
      obtaining the trustee's prior approval of        exceptions exist. Because the law is
      incurring the debt was practicable but was       complicated, you should consult an
      not obtained;                                    attorney to determine the exact effect of
                                                       the discharge in this case.




Form 3180W                               Chapter 13 Discharge                         page 2
